92 F.3d 1180
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Matthew Eugene McNEILL, Plaintiff--Appellant,v.Jerome MORTON, Detective, Defendant--Appellee.Matthew Eugene McNEILL, Plaintiff--Appellant,v.Mickey BIGGS, Detective, Defendant--Appellee.
    Nos. 96-6402, 96-6403.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 23, 1996.Decided:  Aug. 5, 1996.
    
      Appeals from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-96-18-5-CT-BR, CA-96-19-5-CT-BR)
      Matthew Eugene McNeill, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. § 1983 (1988) complaints.  We have reviewed the record and the district court's opinions and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   McNeill v. Morton, No. CA-96-18-5-CT-BR;   McNeill v. Biggs, No. CA-96-19-5-CT-BR (E.D.N.C. Mar. 4, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    